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            4      Attorney for Defendant
                   LISBET VICTORIO-BALLINAS
            5

            6
                                 IN THE UNITED STATES DISTRICT COURT FOR THE
            7
                                        EASTERN DISTRICT OF CALIFORNIA
            8

            9                                       * * * * *

           10
                   UNITED STATES OF AMERICA,  |         CASE NO. CR-F 06-0126 LJO
           11                                 |
                               Plaintiff,     |         STIPULATION AND REQUEST
           12                                 |         TO CONTINUE STATUS CONFERENCE
                   vs.                        |         AND ORDER
           13                                 |
                   LISBET VICTORIO-BALLINAS, |          Date: June 29, 2007
           14                                 |         Time: 9:00 am
                               Defendant.     |
           15      ___________________________/

           16
                   IT   IS    HEREBY   STIPULATED   between   the   parties,   through   their
           17
                   respective counsel, that they jointly request continuance of the
           18
                   status conference, currently set for June 29, 2007, at 9:00 am,
           19
                   to August 10, 2007, at 9:00 am.
           20
                             The request is made due to scheduling conflicts and to
           21
                   provide for the anticipated resolution of the case.             The parties

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            1      agree that delay resulting from the continuance shall be excluded

            2      in   the    interests      of     justice,   specifically,    the   need   for   the

            3      period      of    time      set     forth    herein   for    effective     defense

            4      preparation, within the meaning of 18 USC §3161(h)(8)(A), (B).

            5      DATED: June 27, 2007                         Respectfully submitted,

            6
                                                                     /s/ James R. Homola
            7                                                        JAMES R. HOMOLA
                                                                     Attorney for Defendant
            8                                                        LISBET VICTORIO-BALLINAS

            9                                                        /s/ Kevin Rooney
                                                                     KEVIN ROONEY
           10                                                        Asst U.S. Attorney
                                                                     (by permission)
           11
                                    _______________________________________
           12
                                              ORDER CONTINUING HEARING DATE
           13
                   IT IS SO ORDERED.          Time is excluded in the interests of justice,
           14
                   pursuant to 18 USC §3161(h)(8)(A), and (B).                 No further
           15
                   continuances.
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           17
                   IT IS SO ORDERED.
           18
                   Dated:     June 27, 2007                    /s/ Lawrence J. O'Neill
           19      b9ed48                                  UNITED STATES DISTRICT JUDGE
           20

           21


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